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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                       IN THE UNITED STATES DISTRICT COURT                           January 14, 2020
                       FOR THE SOUTHERN DISTRICT OF TEXAS                           David J. Bradley, Clerk
                                HOUSTON DIVISION

 JANE DOE,                                        §
      Plaintiff,                                  §
                                                  §
 v.                                               §        Civil Action No. 4:19-CV-1209
                                                  §
 PRAIRIE VIEW A&M UNIVERSITY,                     §
      Defendant.                                  §


      ORDER GRANTING AGREED MOTION TO DISMISS WITH PREJUDICE

       After considering Plaintiff Jane Doe and Defendant Prairie View A&M University’s

Agreed Motion to Dismiss With Prejudice, the Court finds that the Motion should be and is hereby

GRANTED.

       IT IS HEREBY ORDERED that Plaintiff Jane Doe’s and Defendant Prairie View A&M

University’s Agreed Motion to Dismiss With Prejudice is hereby GRANTED and all claims are

DISMISSED with prejudice.

                   14th day of January
       SIGNED this _____                                   , 2020.




                                          HONORABLE NANCY F. ATLAS
                                          SENIOR UNITED STATES DISTRICT JUDGE
                                                      NAN Y F. ATLAS
                                            SENIOR UNI     STATES DISTRICT JUDGE
